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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Hadi Abuatelah
                              Plaintiff,
v.                                                   Case No.: 1:22−cv−03998
                                                     Honorable Steven C. Seeger
Officer One, et al.
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 1, 2023:


         MINUTE entry before the Honorable Steven C. Seeger: Plaintiff's motion for leave
to file a third amended complaint (Dckt. No. [74]) is hereby granted. The Court grants
Plaintiff leave to file the third amended complaint by August 8, 2023. Mailed notice(jjr, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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